       Case: 3:20-mj-00517-SLO Doc #: 4 Filed: 11/06/20 Page: 1 of 1 PAGEID #: 18




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                   :   Case No. 3:20-MJ-517
                                             :
          Plaintiff,                         :   Magistrate Judge Sharon L. Ovington
                                             :
 vs.                                         :
 RAYSHAWN ISREAL,                            :
                                             :
          Defendant.                         :
                                             :


                       DUE PROCESS PROTECTIONS ACT ORDER


         Pursuant to the Due Process Protections Act, the Court confirms the United States’

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so. Failing to do so in

a timely manner may result in consequences, including, but not limited to, exclusion of

evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or

sanctions by the Court.

         IT IS SO ORDERED.

November 6, 2020                                      s/Sharon L. Ovington
                                                       Sharon L. Ovington
                                                  United States Magistrate Judge
